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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA


CHERYL SAGATAW,                                     Case No. 20-CV-02189 (ECT/JFD)
DEANTHONY BARNES, ROBERTA
STRONG, and TRAVIS NELOMS on behalf
of themselves and a class of
 similarly-situated individuals,                     CITY OF MINNEAPOLIS’
                                                    RESPONSE TO PLAINTIFFS’
             Plaintiffs,                             NOTICE OF RULE 30(b)(6)
                                                          DEPOSITION
vs.
MAYOR JACOB FREY, in his individual and
official capacity
             Defendant.

       City of Minneapolis (“the City”) hereby responds to Plaintiffs’ Notice of

Rule 30(b)(6) Deposition (“Notice”):


                            GENERAL OBJECTIONS


       1.    The City objects to Plaintiffs’ 30(b)(6) Notice to the extent it seeks

information or documents protected from discovery by work product doctrine,

the attorney client privilege or any other privilege or protection.

       2.    The City objects to Plaintiffs’ 30(b)(6) Notice to the extent that it

assumes, implies or requires legal conclusions.

       3.    The City objects to Plaintiffs’ 30(b)(6) Notice to the extent that it is

vague, ambiguous, overly broad, unduly burdensome, oppressive, or harassing,

or that it seeks to require that the City undertakes an unreasonable investigation.

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      4.     The City objects to Plaintiffs use of undefined terms or phrases

including but not limited to “evict,” “eviction,” “unhoused clients,” “briefs,”

“complaint,” “agencies,” “investigation,” “statements,” “pastor” and ”shelters,

personal effects, and other items.”

      5.     In providing this response to Plaintiffs’ 30(b)(6) Notice, the City does

not in any manner waive or intend to waive, but rather are preserving and

intend to preserve:

             a. All objections relating to competency, relevancy, materiality,
                privilege and admissibility;

             b. All rights to object on any ground to the use, the response
                hearing or information provided pursuant hereto in any
                subsequent proceedings including the trial of this or any other
                action;

             c. All objections relating to vagueness and ambiguity; and

             d. All rights to supplement and/or amend this response based on
                the recollections or persons presently and available or based
                upon the discovery of additional documents or evidence
                subsequent to the date of the City’s responses to this 30(b)(6)
                Notice.

      6.     These objections and answers are based on information currently

known.     The City may have not yet completed its investigation of the facts

related to this action and may not have yet completed discovery or preparation

for trial. Therefore, the City reserves the right to amend, modify or supplement


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their objections and answers as necessary in accordance with the Federal Rules of

Civil Procedure, local rules, and/or applicable order of the Court.

                             30(b)(6) Deposition Topics


   I.       CITY POLICIES AND PROCEDURES RELATED TO UNHOUSE
            CONSTITUENTS

            1. Planning, discussion, and decision-making of houselessness-related

policies. This includes, for example: the planning, discussion, and decision-

making that has informed the City of Minneapolis’s policies, procedures, and

decisions regarding the Homeless Response Team, the “encampment closure

process,” and other storage and encampment policies; any and all revisions, or

proposals for revisions, to these policies since August 2023; and formal as well as

informal or de facto revisions or deviations in how these policies have been

implemented.

         RESPONSE: The City objects to this Topic as overly broad and unduly

burdensome, particularly as to time and scope. The City further objects to this

Topic as ambiguous and vague to the extent it does not describe the matter for

examination with reasonable particularity sufficient to allow the City to identify

and prepare a deponent on this Topic. The City objects to this Topic as seeking

information that is unlikely to lead to the discovery of admissible evidence. The

City further objects to this Topic as seeking information that is protected by the



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attorney-client or work product privilege. Subject to and without waiving these

and the foregoing general objections, the City will produce a witness on this

Topic.

           2. Storage offerings to unhoused Minneapolis residents in policy and

practice. This includes how storage is offered to unhoused people, the process for

accessing storage, the length of time storage may be utilized, the parameters for

what can be stored, the supports (if any) available for helping people transport

belongings to storage, and how and by whom the planning and implementation

decisions of storage policies are made.

         RESPONSE: The City objects to this Topic as overly broad and unduly

burdensome, particularly as to time and scope. The City further objects to this

Topic as ambiguous and vague to the extent it does not describe the matter for

examination with reasonable particularity sufficient to allow the City to identify

and prepare a deponent on this Topic. The City objects to this Topic to the extent

it seeks information outside the possession or control of the City. The City objects

to this Topic as seeking information that is unlikely to lead to the discovery of

admissible evidence. Subject to and without waiving these and the foregoing

general objections, the City will produce a witness on this Topic.




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         3. The roles and responsibilities of the Department of Regulatory

Services, in general and in relation to the provision of storage and administration

of other services for unhoused people in Minneapolis.


         RESPONSE: The City objects to this Topic as overly broad and unduly

burdensome, particularly to the extent it seeks information regarding the

Department of Regulatory Services “in general.” The City further objects to this

Topic as ambiguous and vague to the extent it does not describe the matter for

examination with reasonable particularity sufficient to allow the City to identify

and prepare a deponent on this Topic. The City objects to this Topic as seeking

information that is unlikely to lead to the discovery of admissible evidence.

Subject to and without waiving these and the foregoing general objections, the

City will produce a witness on this Topic.


         4. The City’s relationship with its “outreach partners,” listed in

Defendant’s answer as: Agate, Avivo, Hennepin County’s Streets to Housing,

and Healthcare for the Homeless. This includes: how these organizations

were/are identified and selected; how the City communicates, supervises,

directs, or manages the activities that these outreach partners take on the City’s

behalf; and whether other organizations, such as the Catholic Charities

Opportunity Center, are considered outreach partners and why or why not.



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      RESPONSE: The City objects to this Topic as overly broad and unduly

burdensome. The City further objects to this Topic as ambiguous and vague to

the extent it does not describe the matter for examination with reasonable

particularity sufficient to allow the City to identify and prepare a deponent on

this Topic. The City objects to this Topic as seeking information that is unlikely to

lead to the discovery of admissible evidence. Subject to and without waiving

these and the foregoing general objections, the City will produce a witness on

this Topic.


         5. The City’s policies, procedures, and roles regarding shelter bed

availability. This includes: how the City supervises, supports, manages, and

tracks the provision and availability of shelter beds, if at all; whether and to what

extent the City ensures accommodations for people with disabilities; whether

and to what extent the City verifies the availability and accessibility of beds;

whether and how decisions are made to make additional beds available; how

additional beds are made available; and which and how many organizations

participate in providing overnight beds to unhoused Minneapolis residents.


      RESPONSE: The City objects to this Topic as overly broad and unduly

burdensome, particularly to the extent it is not limited in time or scope. The City

objects to the extent this Topic seeks information that is outside of the possession

or control of the City. The City objects to this Topic as seeking information that is
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unlikely to lead to the discovery of admissible evidence. Subject to and without

waiving these and the foregoing general objections, the City will produce a

witness on this Topic.


         6. Policies and procedures regarding making and maintaining contact

with unhoused clients. This includes what policies or procedures are used or

have been adopted by the City and/or its outreach partners to inform how

service providers identify, support, and stay in contact with prospective

unhoused clients, including those individuals without permanent addresses or

telephone numbers and/or who have disabilities.


      REPONSE: The City objects to this Topic as overly broad and unduly

burdensome, particularly to the extent it seeks information regarding the term

“unhoused clients.” The City further objects to this Topic as ambiguous and

vague to the extent it does not describe the matter for examination with

reasonable particularity sufficient to allow the City to identify and prepare a

deponent on this Topic. The City also objects to the extent this Topic seeks

information that is outside of the possession or control of the City. The City

objects to this Topic as seeking information that is unlikely to lead to the

discovery of admissible evidence. Subject to and without waiving these and the

foregoing general objections, the City will produce a witness on this Topic.



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         7. Discussions or communications between third parties and the City

regarding unhoused persons, encampments, and low-income housing. This

includes discussions and communications regarding health and safety and

impacts on the real estate market, the parties to such communications, and the

fora over which these communications take place. This also includes discussions

or communications with civilian crime reporting/monitoring organizations, like

“Crime Watch,” “21 Days of Peace,” and “We Push for Peace.”


      REPONSE: The City objects to this Topic as overly broad, unduly

burdensome, vague and ambiguous, particularly to the extent it seeks

information regarding communication with any and all City employees and any

and all theoretical third parties. The City objects to this Topic as seeking

information that is unlikely to lead to the discovery of admissible evidence. The

City further objects to this Topic as seeking information that is protected by the

attorney-client or work product privilege. The City will meet and confer with

Plaintiffs regarding this Topic.


         8. The contract between the City and Helix. This includes the

processes, reasoning, and discussions or communications that informed, led to,

and/or resulted in the contract, any requests for proposals, and any oversight

mechanisms and metrics to assess Helix’s fulfillment of the contract terms.



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      REPONSE: The City objects to this Topic to the extent it is not a proper

topic for a 30(b)(6) deposition. The City objects to this Topic as overly broad,

unduly burdensome, vague and ambiguous, particularly to the extent it seeks

communication with any and all City employees. The City further objects to this

Topic as seeking information that is protected by the attorney-client or work

product privilege. Subject to and without waiving these and the foregoing

general objections, the City will produce a witness on this Topic.


         9. “No Trespassing” signage, fencing, and depositing of concrete and

rubble. This includes which properties have had such items erected and when,

how the City decides which properties should be posted and/or fenced and/or

filled with concrete and rubble, and who makes such decisions and erects such

items on behalf of the City.


      REPONSE: The City objects to this Topic as overly broad and unduly

burdensome, particularly to the extent it is not limited in time, scope or

properties. The City objects to this Topic as seeking information that is unlikely

to lead to the discovery of admissible evidence. The City further objects to this

Topic as seeking information that is protected by the attorney-client or work

product privilege. Subject to and without waiving these and the foregoing

general objections, the City will produce a witness on this Topic.



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            10. Publicly shared information about land ownership and status,

including who manages the following City website:

https://www.minneapolismn.gov/government/government-

data/datasource/vacantcondemned-property-dashboard/.


         RESPONSE: The City objects to this Topic to the extent it is not a proper

topic for a 30(b)(6) deposition. The City objects to this Topic as overly broad,

unduly burdensome, vague and ambiguous, particularly as it purports to seek

unspecified information about unspecified land parcels. The City objects to this

Topic as seeking information that is unlikely to lead to the discovery of

admissible evidence. The City will meet and confer with Plaintiffs regarding this

Topic.


   II.      NENOOKAASI EVICTIONS

            11. The decisions made to evict Nenookaasi. This includes the processes,

factors, and discussions or communications that have informed the decision of

whether or not to evict Nenookaasi and when, the manner in which such

processes, factors, and discussions or communications are documented or

recorded, and who has final decision-making authority.


         RESPONSE: The City objects to this Topic as overly broad and unduly

burdensome, particularly to the extent it is not limited in time, scope or locations.


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The City objects to this Topic as seeking information that is unlikely to lead to the

discovery of admissible evidence. The City further objects to this Topic as

ambiguous and vague to the extent it does not describe the matter for

examination with reasonable particularity sufficient to allow the City to identify

and prepare a deponent on this Topic. The City further objects to this Topic as

seeking information that is protected by the attorney-client or work product

privilege. Subject to and without waiving these and the foregoing general

objections, the City will produce a witness on this Topic.


         12. The City agencies and agents who have been present at each of the

prior Nenookaasi evictions and their roles. This includes the instructions or

“briefs” given to each of these agencies and agents before and during evictions,

whether and how agencies or agents are given such instructions or “briefed,”

and what if any feedback, debriefing, or review occurs after each eviction.


      RESPONSE: The City objects to this Topic as overly broad and unduly

burdensome, particularly to the extent it is not limited in time, scope or and the

terms “brief” and “City agencies.” The City further objects to this Topic as

ambiguous and vague to the extent it does not describe the matter for

examination with reasonable particularity sufficient to allow the City to identify

and prepare a deponent on this Topic. The City objects to this Topic as seeking

information that is unlikely to lead to the discovery of admissible evidence. The
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City further objects to this Topic as seeking information that is protected by the

attorney-client or work product privilege. Subject to and without waiving these

and the foregoing general objections, the City will produce a witness on this

Topic.


            13. Claims of inadequacies during evictions and subsequent

investigations. This includes whether and to what extent the City has received or

is aware of claims, complaints, or allegations that storage is functionally

unavailable to residents, shelter beds are unavailable, and residents are not given

adequate notice or an opportunity to salvage their belongings during evictions.

This includes what steps if any the City has taken to investigate and/or address

such claims, complaints, or allegations.


         RESPONSE: The City objects to this Topic to the extent it is not a proper

topic for a 30(b)(6) deposition. The City objects to this Topic as overly broad and

unduly burdensome, particularly to the extent it is not limited in time, scope or

and the term “claims of inadequacies.” The City further objects to this Topic as

ambiguous and vague to the extent it does not describe the matter for

examination with reasonable particularity sufficient to allow the City to identify

and prepare a deponent on this Topic. The City objects to this Topic as seeking

information that is unlikely to lead to the discovery of admissible evidence. The

City further objects to this Topic as seeking information that is protected by the
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attorney-client or work product privilege. Subject to and without waiving these

and the foregoing general objections, the City will produce a witness on this

Topic.


           14. Measures taken to protect the rights of people with disabilities

during evictions, if any.


         RESPONSE: The City objects to this Topic as overly broad and unduly

burdensome, particularly to the extent it refers broadly to “people with

disabilities.” The City further objects to this Topic as ambiguous and vague to the

extent it does not describe the matter for examination with reasonable

particularity sufficient to allow the City to identify and prepare a deponent on

this Topic. The City objects to this Topic as seeking information that is unlikely to

lead to the discovery of admissible evidence. The City objects to this Topic to the

extent it requires a legal conclusion. Subject to and without waiving these and

the foregoing general objections, the City will produce a witness on this Topic.


           15. Decisions about how much time residents are permitted to pack up

their belongings during evictions, including who makes such decisions, what

factors go into such decisions, what discussions or communications have

informed such decisions, whether the City has received or is aware of complaints




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that residents have not received sufficient time, and what steps have been taken

to address such complaints if any.


      RESPONSE: The City objects to this Topic as overly broad and unduly

burdensome, particularly to the extent it refers broadly to “time…permitted to

pack up.” The City further objects to this Topic as ambiguous and vague to the

extent it does not describe the matter for examination with reasonable

particularity sufficient to allow the City to identify and prepare a deponent on

this Topic. The City objects to this Topic as seeking information that is unlikely to

lead to the discovery of admissible evidence. The City objects to this Topic to the

extent it requires a legal conclusion. The City further objects to this Topic as

seeking information that is protected by the attorney-client or work product

privilege. Subject to and without waiving these and the foregoing general

objections, the City will produce a witness on this Topic.


          16. Communication from the City to residents prior to and during

evictions. This includes specific details regarding how, if at all, the City insures

residents are made aware of alternate housing options, transportation, and other

resources; who shares such information with residents, to whom they have

specifically shared such information, and when; and how if at all such

information-sharing is documented.



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      RESPONSE: The City objects to this Topic as overly broad, unduly

burdensome, particularly to the extent it seeks information regarding

communication with any and all City employees. The City objects to this Topic as

seeking information that is unlikely to lead to the discovery of admissible

evidence. The City further objects to this Topic as ambiguous and vague to the

extent it does not describe the matter for examination with reasonable

particularity sufficient to allow the City to identify and prepare a deponent on

this Topic. The City objects to this Topic as seeking information that is unlikely to

lead to the discovery of admissible evidence. The City also objects to the extent

this Topic seeks information that is outside of the possession or control of the

City. Subject to and without waiving these and the foregoing general objections,

the City will produce a witness on this Topic.


         17. The destruction and/or disposal of shelters, personal effects, and

other items during evictions, including any inventories or documentation of such

items, how such items are destroyed or otherwise disposed of, and by whom.


      RESPONSE: The City objects to this Topic to the extent it is not a proper

topic for a 30(b)(6) deposition. The City objects to this Topic as overly broad and

unduly burdensome, particularly to the undefined terms ”shelters, personal

effects, and other items.” The City further objects to this Topic as ambiguous and

vague to the extent it does not describe the matter for examination with
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reasonable particularity sufficient to allow the City to identify and prepare a

deponent on this Topic. The City objects to this Topic as seeking information that

is unlikely to lead to the discovery of admissible evidence. Subject to and without

waiving these and the foregoing general objections, the City will produce a

witness on this Topic.


         18. Law enforcement presence at evictions, including: how many

officers, how many vehicles, in what formations, and with what weapons and

equipment have been dispatched to evictions; who makes decisions regarding

law enforcement dispatch to and tactics at evictions; and by what process and

with what input are those decisions made.


      RESPONSE: The City objects to this Topic to the extent it is not a proper

topic for a 30(b)(6) deposition. The City objects to this Topic as overly broad and

unduly burdensome, particularly to the extent it seeks information better suited

for written discovery. The City further objects to this Topic as ambiguous and

vague to the extent it does not describe the matter for examination with

reasonable particularity sufficient to allow the City to identify and prepare a

deponent on this Topic. The City objects to this Topic as seeking information that

is unlikely to lead to the discovery of admissible evidence. The City will meet

and confer with Plaintiffs regarding this Topic.



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         19. Law enforcement documentation of evictions, including whether

and how many law enforcement officers have had body worn cameras during

each of the evictions and/or have written reports pertaining to any of the

evictions.


      RESPONSE: The City objects to this Topic to the extent it is not a proper

topic for a 30(b)(6) deposition. The City objects to this Topic as overly broad and

unduly burdensome, particularly to the extent it seeks information better suited

for written discovery. The City further objects to this Topic as ambiguous and

vague to the extent it does not describe the matter for examination with

reasonable particularity sufficient to allow the City to identify and prepare a

deponent on this Topic. The City objects to this Topic as seeking information that

is unlikely to lead to the discovery of admissible evidence. The City will meet

and confer with Plaintiffs regarding this Topic.


         20. Arrests, threats of arrests, and physical threats made by law

enforcement during evictions, including the number and context of each and

whether weapons were drawn and/or discharged.


      RESPONSE: The City objects to this Topic to the extent it is not a proper

topic for a 30(b)(6) deposition. The City objects to this Topic as overly broad and

unduly burdensome, particularly to the extent it seeks information better suited


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for written discovery. The City objects to this Topic as seeking information that is

unlikely to lead to the discovery of admissible evidence. The City will meet and

confer with Plaintiffs regarding this Topic.


            21. Official complaints filed against the City or its agents or agencies

related to the evictions, including the number, sources, and subject matter of

such complaints, and any responses or efforts to address such complaints by the

City.


         RESPONSE: The City objects to this Topic to the extent it is not a proper

topic for a 30(b)(6) deposition. The City objects to this Topic as overly broad and

unduly burdensome, particularly to the extent it is not limited in time, scope or

and the term “official complaints” and “agencies.” The City further objects to this

Topic as ambiguous and vague to the extent it does not describe the matter for

examination with reasonable particularity sufficient to allow the City to identify

and prepare a deponent on this Topic. The City objects to this Topic as seeking

information that is unlikely to lead to the discovery of admissible evidence. The

City further objects to this Topic as seeking information that is protected by the

attorney-client or work product privilege. Subject to and without waiving these

and the foregoing general objections, the City will produce a witness on this

Topic.



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          22. Statements made by the City to the public and/or any third party or

parties regarding or relating to the Nenookaasi evictions. This includes any

statements regarding the notice given to residents, the justifications for evictions,

and how encampments generally or Nenookaasi specifically has been or would

be handled.


      RESPONSE: The City objects to this Topic as overly broad, unduly

burdensome, vague and ambiguous, particularly to the extent it seeks

information regarding communication with any and all City employees and any

and all theoretical third parties. The City further objects to this Topic as

ambiguous and vague to the extent it does not describe the matter for

examination with reasonable particularity sufficient to allow the City to identify

and prepare a deponent on this Topic. The City objects to this Topic as seeking

information that is unlikely to lead to the discovery of admissible evidence. The

City further objects to this Topic as seeking information that is protected by the

attorney-client or work product privilege. The City will meet and confer with

Plaintiffs regarding this Topic.


          23. The ceasing of notices for evictions, including what justifications or

decisions led to the City not providing notice for evictions, who was a part of

discussions or communications that informed such justifications or decisions,

and who had final decision-making authority.
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      RESPONSE: The City objects to this Topic as overly broad and unduly

burdensome. The City further objects to this Topic as ambiguous and vague to

the extent it does not describe the matter for examination with reasonable

particularity sufficient to allow the City to identify and prepare a deponent on

this Topic, particularly to the term “notices of eviction.” The City objects to this

Topic as seeking information that is unlikely to lead to the discovery of

admissible evidence. The City further objects to this Topic as seeking information

that is protected by the attorney-client or work product privilege. Subject to and

without waiving these and the foregoing general objections, the City will

produce a witness on this Topic.


         24. The “pastor” the City hired to provide notice to Nenookaasi

residents, including who this person is, why and how they were “authorized” by

the City to provide eviction-related notice to residents and by whom, and what

training and/or instructions they received.


   RESPONSE: The City objects to this Topic as overly broad and unduly

burdensome. The City further objects to this Topic as ambiguous and vague to

the extent it does not describe the matter for examination with reasonable

particularity sufficient to allow the City to identify and prepare a deponent on

this Topic, particularly as to the term “pastor.” The City objects to this Topic as

seeking information that is unlikely to lead to the discovery of admissible
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evidence. The City objects to the extent this Topic seeks information that is

outside of the possession or control of the City. Subject to and without waiving

these and the foregoing general objections, the City will produce a witness on

this Topic.


   III.   EFFORTS BY THE CITY TO ADDRESS THE NEEDS OF
          NENOOKAASI RESIDENTS AND THEIR HOUSED NEIGHBORS

          25. Assessment and documentation of the size and nature of

Nenookaasi, including whether, when, and to what extent the City has attempted

to assess and/or document such things as the population, the number of yurts

and/or tents, and the number of fires and/or heaters, and how such information

is collected, maintained, and verified. This includes the source or basis for the

City’s claims that there were 18-20 fires at Nenookaasi.


      RESPONSE: The City objects to this Topic to the extent it is not a proper

topic for a 30(b)(6) deposition. The City objects to this Topic as overly broad and

unduly burdensome, particularly to the extent it seeks information better suited

for written discovery. The City further objects to this Topic as ambiguous and

vague to the extent it does not describe the matter for examination with

reasonable particularity sufficient to allow the City to identify and prepare a

deponent on this Topic. The City objects to this Topic as seeking information that




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is unlikely to lead to the discovery of admissible evidence. The City will meet

and confer with Plaintiffs regarding this Topic.


         26. 311 calls, 911 calls, and other complaints or requests for emergency

services regarding or relating to Nenookaasi, including: how complaints are

documented and retained; how many such complaints or requests for emergency

services have been made since August 2024 to the City, including to the

Minneapolis Police Department; the nature of these requests; the number of

repeat (as opposed to new or distinct) complainants; the number of calls made by

Nenookaasi residents themselves; and whether and how the basis, substance,

and cause of those complaints and the identity of the complainant were verified.


      RESPONSE: The City objects to this Topic to the extent it is not a proper

topic for a 30(b)(6) deposition. The City objects to this Topic as overly broad and

unduly burdensome, particularly to the extent it seeks information better suited

for written discovery. The City further objects to this Topic as ambiguous and

vague to the extent it does not describe the matter for examination with

reasonable particularity sufficient to allow the City to identify and prepare a

deponent on this Topic. The City objects to this Topic as seeking information that

is unlikely to lead to the discovery of admissible evidence. The City will meet

and confer with Plaintiffs regarding this Topic.



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         27. Data regarding complaints to the City related to or regarding

unhoused people or encampments in the East Phillips neighborhood prior to

September of 2023, including baseline or comparative data illustrating rates of

311 calls, 911 calls, and other complaints or requests for emergency services,

including those related to drug overdoses, discarded hypodermic needles,

human trafficking, gun discharges, air pollution, thefts and other crimes, and

waste or refuse.


      RESPONSE: The City objects to this Topic to the extent it is not a proper

topic for a 30(b)(6) deposition. The City objects to this Topic as overly broad and

unduly burdensome, particularly to the extent it seeks information better suited

for written discovery. The City further objects to this Topic as ambiguous and

vague to the extent it does not describe the matter for examination with

reasonable particularity sufficient to allow the City to identify and prepare a

deponent on this Topic. The City objects to this Topic as seeking information that

is unlikely to lead to the discovery of admissible evidence. The City will meet

and confer with Plaintiffs regarding this Topic.


         28. City ordinances and regulations alleged to have been violated by the

Nenookaasi encampment and its residents and the typical or usual City

responses to violations of such ordinances.



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   RESPONSE: The City objects to this Topic as overly broad and unduly

burdensome, particularly to the extent it seeks information related to

purportedly any City ordinance or regulation. The City further objects to this

Topic as ambiguous and vague to the extent it does not describe the matter for

examination with reasonable particularity sufficient to allow the City to identify

and prepare a deponent on this Topic. This City objects to this Topic to the extent

it calls for a legal conclusion. The City further objects to this Topic as seeking

information that is protected by the attorney-client or work product privilege.

The City objects to this Topic as seeking information that is unlikely to lead to the

discovery of admissible evidence. Subject to and without waiving these and the

foregoing general objections, the City will produce a witness on this Topic.


          29. The City’s current, planned, proposed, and anticipated future uses

of each of the prior locations of Nenookaasi from which residents have been

evicted, including what related discussions or communications have or are

taking place, who (including individuals, agencies, and third parties) has

participated or is participating in such discussions or communications, how such

decisions are made and who has final decision-making authority.


      RESPONSE: The City objects to this Topic to the extent it is not a proper

topic for a 30(b)(6) deposition. The City objects to this Topic as overly broad and

unduly burdensome, particularly to the extent it seeks information better suited
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for written discovery. The City further objects to this Topic as ambiguous and

vague to the extent it does not describe the matter for examination with

reasonable particularity sufficient to allow the City to identify and prepare a

deponent on this Topic. The City objects to this Topic as seeking information that

is unlikely to lead to the discovery of admissible evidence. The City will meet

and confer with Plaintiffs regarding this Topic.


         30. Meetings with Nenookaasi organizers, liaisons, residents, and

supporters, including when such meetings have occurred, who has participated

in such meetings, what was discussed and how such meetings were documented

or recorded, and what discussions or communications did City officials and

agents have related to such meetings (including before and after).

      RESPONSE: The City objects to this Topic to the extent it is not a proper

topic for a 30(b)(6) deposition. The City objects to this Topic as overly broad and

unduly burdensome, particularly to the extent it seeks information better suited

for written discovery and to the extent it purports to seek communications with

any and all City employees. The City further objects to this Topic as ambiguous

and vague to the extent it does not describe the matter for examination with

reasonable particularity sufficient to allow the City to identify and prepare a

deponent on this Topic. The City objects to this Topic as seeking information that



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is unlikely to lead to the discovery of admissible evidence. The City will meet

and confer with Plaintiffs regarding this Topic.


         31. Information regarding the outbreak of Norovirus at Nenookaasi,

including what information the City received or generated, and any information

regarding any identified cause, reports of sickness, proposed and/or adopted

safety and treatment measures, and communications with or orders to law

enforcement or emergency responders about whether and how to respond

during the outbreak.


      RESPONSE: The City objects to this Topic to the extent it is not a proper

topic for a 30(b)(6) deposition. The City objects to this Topic as overly broad and

unduly burdensome, particularly to the extent it seeks information better suited

for written discovery. The City further objects to this Topic as ambiguous and

vague to the extent it does not describe the matter for examination with

reasonable particularity sufficient to allow the City to identify and prepare a

deponent on this Topic. The City objects to this Topic as seeking information that

is unlikely to lead to the discovery of admissible evidence. Subject to and without

waiving these and the foregoing general objections, the City will produce a

witness on this Topic.


   IV.   THE FIRE


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         32. The names, positions, and contact information of all staff, agencies,

or agents who visited Nenookaasi on behalf of the City during the week prior to

February 28, 2024, including but not limited to individuals who were sent to

Nenookaasi to discuss the fires and/or smoke, as well as how these individuals

were briefed or instructed and any debrief or report-back to the City.


      RESPONSE: The City objects to this Topic to the extent it is not a proper

topic for a 30(b)(6) deposition. The City objects to this Topic as overly broad and

unduly burdensome, particularly to the extent it seeks information better suited

for written discovery. The City further objects to this Topic as ambiguous and

vague to the extent it does not describe the matter for examination with

reasonable particularity sufficient to allow the City to identify and prepare a

deponent on this Topic. The City objects to this Topic as seeking information that

is unlikely to lead to the discovery of admissible evidence. The City will meet

and confer with Plaintiffs regarding this Topic.


         33. Investigations regarding the fire at Nenookaasi on February 28,

2024, including what investigations have taken place, what investigations are

ongoing, how investigations have been documented, who has conducted or is

conducting such investigations, and any findings or reports.




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      RESPONSE: The City objects to this Topic to the extent it is not a proper

topic for a 30(b)(6) deposition. The City objects to this Topic as overly broad and

unduly burdensome, particularly to the extent it seeks information better suited

for written discovery. The City further objects to this Topic as ambiguous and

vague to the extent it does not describe the matter for examination with

reasonable particularity sufficient to allow the City to identify and prepare a

deponent on this Topic. The City objects to this Topic as seeking information that

is unlikely to lead to the discovery of admissible evidence. The City will meet

and confer with Plaintiffs regarding this Topic.


         34. Investigations regarding the arson or attempted arson which took

place at Nenookaasi during the week prior to February 28, 2024, including what

investigations have taken place, what investigations are ongoing, how

investigations have been documented, who has conducted or is conducting such

investigations, and any findings or reports.


      RESPONSE: The City objects to this Topic to the extent it is not a proper

topic for a 30(b)(6) deposition. The City objects to this Topic as overly broad and

unduly burdensome, particularly to the extent it seeks information better suited

for written discovery. The City further objects to this Topic as ambiguous and

vague to the extent it does not describe the matter for examination with

reasonable particularity sufficient to allow the City to identify and prepare a
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deponent on this Topic. The City objects to this Topic as seeking information that

is unlikely to lead to the discovery of admissible evidence. The City will meet

and confer with Plaintiffs regarding this Topic.


         35. The City’s fire and arson investigation procedures, including the

standard operating procedures for fire and arson investigations.


      RESPONSE: The City objects to this Topic as overly broad and unduly

burdensome, particularly to the extent it seeks information better suited for

written discovery. The City further objects to this Topic as ambiguous and vague

to the extent it does not describe the matter for examination with reasonable

particularity sufficient to allow the City to identify and prepare a deponent on

this Topic. The City objects to this Topic as seeking information that is unlikely to

lead to the discovery of admissible evidence. The City will meet and confer with

Plaintiffs regarding this Topic.


         36. The role of the Minneapolis Fire Department and Minneapolis Police

Department, including the Arson Investigation Unit, in investigating fires and

suspected arsons generally, and in the case of the Nenookaasi fire in particular.


      RESPONSE: The City objects to this Topic as overly broad and unduly

burdensome. The City further objects to this Topic as ambiguous and vague to

the extent it does not describe the matter for examination with reasonable


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particularity sufficient to allow the City to identify and prepare a deponent on

this Topic. The City objects to this Topic as seeking information that is unlikely to

lead to the discovery of admissible evidence. The City will meet and confer with

Plaintiffs regarding this Topic.



Dated: August 26, 2024                    KRISTYN ANDERSON
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